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                      UNITED STATES DISTRICT COURT FOR THE
                           SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

CADENCE BANK,                                   §
                                                §
       Plaintiff,                               §
                                                §
                                                §
V.                                              §            Civil Action No.: 4:24-cv-01266
                                                §
TRITGEN, LLC and INDEPENDENT                    §
TEXAS RECYCLERS, LLC,                           §
                                                §
       Defendants.                              §

       RECEIVER’S EX PARTE MOTION TO SET OBJECTION DEADLINE FOR
              RECEIVER’S APPLICATION FOR EMPLOYMENT OF
                   PPL ACQUISITION GROUP, LLC [ECF 51]

       Alan Weiner of Focus Management Group (the “Receiver”), by and through undersigned

counsel, hereby moves for entry of an order setting December 17, 2024, as the objection deadline

for the Receiver’s pending Application for Employment of PPL Acquisition Group, LLC [ECF

51] (the “Application”). This motion is filed on an ex parte basis, as the purpose of the motion is

to promptly set an objection bar date – a purpose that would be thwarted to the extent an objection

and notice period to consider the motion is required.

       In support of its motion, the Receiver would show as follows:

                          RELEVANT FACTUAL BACKGROUND

       On April 15, 2024, the Receiver was appointed pursuant to the Court’s Agreed Order

Appointing Receiver (as modified at ECF No. 18, the “Receivership Order”). That same day, the

Receiver filed his oath and proof of bond, thereby giving effect to his appointment.

       As set forth in the various status reports filed on behalf of the Receiver, the Receiver has

operated the business of defendant Independent Texas Recyclers, LLC (“ITR”) while engaging in

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efforts to maximize returns to creditors. Those efforts culminated in execution and Court approval

of an asset sale agreement of the ITR business and certain assets on a going concern basis. After

weeks of efforts to close, the transaction has now been terminated effective December 11, 2024.

       In a prudent and proactive move to facilitate the liquidation and wind-down of the business

in such event, the Receiver filed on December 3, 2024, the Application seeking authority to engage

a liquidator. That Application remains pending, and to date no objections have been filed. The

only creditor to engage with the Receiver or his counsel regarding the Application is Cadence

Bank, the plaintiff in this action, who has asked for information in order to evaluate whether to

consent to the proposed liquidation on the terms proposed. As of the filing of this Motion, Cadence

has not advised the Receiver whether it consents.

                                          ARGUMENT

       Applicable local rules provide for a 21-day objection period for motions (See LR 7.3,

7.4(A)), but there is no rule specifically applicable to “applications.” Assuming the 21-day

objection period applies to the Application, this Court’s Local Rule 8.7 allows this Court,

       in its discretion, on its own motion or upon application, entertain and decide
       any motion, shorten or extend time periods, and request or permit additional
       authority or supporting material.

       The Receiver asks that this Court set December 17, 2024, as the objection deadline. While

shorter than the 21-day objection period applicable to motions, a 14-day objection period is

reasonable under the circumstances, including initiating the liquidation process as soon as possible.

                                     RELIEF REQUESTED

       WHEREFORE, premises considered, the Receiver asks that the Court immediately enter

an order in the form attached hereto granting this motion on an ex parte basis and setting December




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17, 2024, as the Application objection deadline; and grant any other and further relief as the Court

deems just and proper under the circumstances.

Dated: December 13, 2024                   Respectfully submitted,

                                           BRYAN CAVE LEIGHTON PAISNER LLP

                                              /s/ Kyle S. Hirsch
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                                           Attorneys for Receiver Alan Weiner of Focus
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                                CERTIFICATE OF SERVICE

        I certify that on December 13, 2024, the foregoing document was filed with the Clerk of
Court and served on all parties via the CM/ECF system with a true and correct copy served on all
parties’ counsel of record as follows:

               Josh Lesser
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               Matthew B. Probus
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               Counsel to Steve Ragiel and TRITgen, LLC

In addition, a copy of the foregoing has been provided to the following:

               James Phillips
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               NOLA Construction & Development Group, LLC

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                                             /s/ Kyle S. Hirsch
                                             Kyle S. Hirsch


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